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                  IN THE UNITED STATES DISTRICT COURT

           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA :

             v.                        :     Crim. No. 96-539-02

TERRENCE GIBBS                         :


     GOVERNMENT’S RESPONSE TO MOTION TO MODIFY IMPOSED
      TERM OF IMPRISONMENT UNDER 18 U.S.C. § 3582(c)(1)(A)(i)


       Defendant Terrence Gibbs seeks compassionate release under 18 U.S.C.

§ 3582(c)(1)(A)(i). This Court lacks authority to grant this relief, and the motion

should be denied.

I.     Background.

       Defendant Terrence Gibbs was one of the leaders of a substantial drug

trafficking organization that obtained cocaine from various suppliers and resold

the cocaine in Philadelphia in both powder and crack form between 1992 and

1995. After another leader, Darryl Coleman, was arrested on state charges in

April 1994 and subsequently imprisoned, Gibbs assumed primary responsibility

for the organization, supervising and managing the business, and recruiting

individuals to distribute cocaine and collect drug proceeds. See United States v.

Gibbs, 190 F.3d 188, 195 (3d Cir. 1999).

       Gibbs was convicted of conspiring to distribute cocaine, bribing a public

official, engaging in a continuing criminal enterprise, money laundering, and
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using a telephone to facilitate a drug felony. At sentencing, this Court determined

that Gibbs’ total offense level was 46, with a base offense level of 38, and

enhancements of two levels for possessing a dangerous weapon, four levels for

leadership role, and two levels for obstructing justice. Under the Sentencing

Guidelines, the total offense level required a sentence of life imprisonment, which

the Court imposed on September 15, 1997.

      In his present motion, Gibbs asserts that this sentence would not apply

under current law, because the quantity that allowed a maximum sentence of life

imprisonment was not charged in the indictment and proven to a jury beyond a

reasonable doubt. This is not entirely correct.

      The same sentence would be permissible under current law; the

government would simply have to follow additional procedural requirements to

obtain it. Under the current version of 21 U.S.C. § 841(b)(1)(B), a maximum

sentence of life imprisonment is allowed for any offense involving more than 28

grams of crack, or 500 grams of cocaine. There is no question that the crimes of

conviction in this case involved quantities far in excess of those thresholds (as

well as the greater thresholds in Section 841(b)(1)(A) of 280 grams of crack and 5

kilograms of cocaine). At sentencing, in applying the then-applicable Guidelines,

this Court found that the crimes involved at least 1.5 kilograms of crack and 150

kilograms of cocaine, and the Court of Appeals, describing the assessment as

“conservative,” affirmed it. United States v. Gibbs, 190 F.3d 188, 219-20 (3d Cir.

1999). And indeed, the quantity findings justify a Guidelines recommendation of

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life imprisonment under the current version of the Guidelines as well (which is

why Gibbs’ request for relief based on recent guideline amendments has been

denied, see United States v. Gibbs, 647 F. App’x 133 (3d Cir. 2016)).

      The only difference in the law today, after the decisions in Apprendi v.

New Jersey, 530 U.S. 466 (2000), and United States v. Booker, 543 U.S. 220

(2005), is that a jury would have to find the minimal threshold that allowed a life

sentence, while the final guideline range would be advisory rather than

mandatory. But these procedural rules do not apply retroactively, and therefore

Gibbs did not obtain any relief from these decisions. United States v. Gibbs, 77 F.

App'x 107 (3d Cir. 2003) (declining to apply Apprendi retroactively); United

States v. Gibbs, 598 F. App’x 814 (3d Cir. 2015) (per curiam) (denying collateral

relief based on Booker).

      Now, in presenting a motion for compassionate release, Gibbs is simply

trying again in a different manner to gain retroactive application of Apprendi and

Booker. However, because this remedy is not available to address an otherwise

non-retroactive change in sentencing law, the motion must be denied.

II.   Discussion.

      The defendant seeks compassionate release under 18 U.S.C.

§ 3582(c)(1)(A)(i), which permits a court to reduce a sentence upon a showing of

“extraordinary and compelling circumstances.” The defendant asserts that his

service of a sentence that would not be imposed under current law presents such

a circumstance, allowing the Court to reduce his sentence. However, that

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circumstance as a matter of law does not by itself allow relief under Section

3582(c)(1)(A)(i), and the motion must be denied.

      A.    The Pertinent Statute Directs that “Extraordinary and
            Compelling Circumstances” Allowing Compassionate
            Release Are Defined by the Sentencing Commission.

      As recently amended by the First Step Act, Section 3582(c)(1)(A)(i)

provides:

      (c) Modification of an imposed term of imprisonment.--The court may not
      modify a term of imprisonment once it has been imposed except that--

      (1) in any case--

      (A) the court, upon motion of the Director of the Bureau of Prisons, or
      upon motion of the defendant after the defendant has fully exhausted all
      administrative rights to appeal a failure of the Bureau of Prisons to bring
      a motion on the defendant’s behalf or the lapse of 30 days from the receipt
      of such a request by the warden of the defendant's facility, whichever is
      earlier, may reduce the term of imprisonment (and may impose a term of
      probation or supervised release with or without conditions that does not
      exceed the unserved portion of the original term of imprisonment), after
      considering the factors set forth in section 3553(a) to the extent that they
      are applicable, if it finds that--

      (i) extraordinary and compelling reasons warrant such a reduction . . .

      and that such a reduction is consistent with applicable policy statements
      issued by the Sentencing Commission . . . .

      In Section 603(b) of the First Step Act, Congress added the italicized

passage that permits a defendant, after denial of a request to BOP that it sponsor

a request for compassionate release, or the passage of a specified period of time

after seeking BOP’s acquiescence, to himself move the court for relief. Previously,

only BOP could initiate a motion for compassionate release.


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      The defendant argues that the changes to 18 U.S.C. § 3582(C)(1)(A)(i)

made by the First Step Act have vested this Court with authority to identify the

extraordinary and compelling circumstances that may warrant a sentence

reduction. But that is not true. The First Step Act left unchanged a critical

statutory command: any reduction must be “consistent with applicable policy

statements issued by the Sentencing Commission.” Here, the applicable policy

statement provides no basis for a sentence reduction based on concern regarding

the length of a previously imposed sentence.

      As before, Congress has directed the Sentencing Commission to determine

the permissible grounds for compassionate release. That directive is expressed in

several statutes. Congress directed the Sentencing Commission to adopt policy

statements regarding “the appropriate use of . . . the sentence modification

provisions set forth in section[] . . . 3582(c) of title 18.” 28 U.S.C. § 994(a)(2)(C).

Providing further guidance, Section 994(t) states: “The Commission, in

promulgating general policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe what should be

considered extraordinary and compelling reasons for sentence reduction,

including the criteria to be applied and a list of specific examples. Rehabilitation

of the defendant alone shall not be considered an extraordinary and compelling

reason.” And finally, as stated, Section 3582(c)(1)(A) conditions judicial relief on

fidelity to the applicable policy statement, which appears at U.S.S.G. § 1B1.13.



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      This policy statement is binding under the express terms of Section

3582(c)(1)(A), and because it concerns only possible sentence reductions, not

increases, it is not subject to the rule of Booker v. United States, 543 U.S. 220

(2005), that any guideline that increases a sentence must be deemed advisory.

      This issue was resolved by the Supreme Court in Dillon v. United States,

560 U.S. 817 (2010), which the defendant does not address, but makes clear that

the statutory requirement in Section 3582 that a court heed the restrictions

stated by the Sentencing Commission is binding.

      Dillon concerned a motion for a reduction in sentence under 18 U.S.C.

§ 3582(c)(2), which allows a sentence reduction in limited circumstances upon

the Commission’s adoption of a retroactive guideline amendment lowering a

guideline range. That subsection allows such an action “if such a reduction is

consistent with applicable policy statements issued by the Sentencing

Commission” – language identical to that which appears in Section 3582(c)(1)(A)

with respect to a court’s consideration of a motion for compassionate release (“if

it finds . . . that such a reduction is consistent with applicable policy statements

issued by the Sentencing Commission”).

      The Dillon Court held that the Commission’s pertinent policy statement

concerning retroactive guideline amendments (U.S.S.G. § 1B1.10) is binding,

particularly its directive that a permissible sentence reduction is limited to the

bottom of the revised guideline range, without application of the rule of Booker.

See Dillon, 560 U.S. at 826. Dillon emphasized that a sentence reduction under

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Section 3582(c)(2) is not a resentencing proceeding, but rather “represents a

congressional act of lenity intended to give prisoners the benefit of later enacted

adjustments to the judgments reflected in the Guidelines,” without any possibility

of increase in a sentence. Id. at 828. The Court stressed the opening passage of 18

U.S.C. § 3582(c) – “The court may not modify a term of imprisonment once it has

been imposed except that” – and the specific language of Section 3582(c)(2),

which gives a court power to “reduce” a sentence, not increase it. For this and

numerous other reasons – that the provision applies only to a limited class of

prisoners, that Federal Rule of Criminal Procedure 43(b)(4) does not require the

defendant’s presence at any proceeding under Section 3582(c), and that Congress

explicitly gave the Sentencing Commission a significant role in determining

eligibility – Dillon held that the Booker rule is inapplicable and the Commission’s

relevant policy statement is controlling.

      Every consideration identified in Dillon appears here. A motion for

compassionate release rests on an act of Congressional lenity. It appears under

the same prefatory language of Section 3582(c) (“The court may not modify a

term of imprisonment once it has been imposed except that”), and explicitly

refers to an action to “reduce” a sentence. It applies only to a limited class of

prisoners, and does not warrant a full resentencing procedure. There is no basis

for any conclusion other than that the statutory language is binding: a court may

reduce a sentence based on “extraordinary and compelling reasons” only if “such



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a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.”

       Thus, the defendant’s position, that Congress aimed to afford courts

discretion to determine in individual cases whether there is a basis for a sentence

reduction, simply ignores the text of the actual statutes, not to mention the Dillon

decision. 1

       In sum, in amending Section 3582(c)(1)(A), Congress granted inmates a

new procedural right: the opportunity to bring motions for compassionate release

directly. In so providing, Congress did not alter the substantive criteria governing

motions for compassionate release, which remain subject to binding guidance of

the Sentencing Commission.




       1 While some defendants have raised the rule of lenity in this context, it is
inapplicable. The rule of lenity applies only to “interpretations of the substantive
ambit of criminal prohibitions, [and] to the penalties they impose.” Bifulco v.
United States, 447 U.S. 381, 387 (1990). Section 3582(c)(1)(A) authorizes only a
reduction of a sentence; it neither prohibits conduct nor imposes penalties. And
in any event, application of the rule of lenity “requires more than a difficult
interpretative question. Rather, ‘[t]o invoke the rule, we must conclude that there
is a grievous ambiguity or uncertainty in the statute.’” United States v. Flemming,
617 F.3d 252, 270 (3d Cir. 2010) (citing Muscarello v. United States, 524 U.S.
125, 138-39 (1998) (internal quotation marks and citation omitted)). The rule of
lenity is reserved “for those situations in which a reasonable doubt persists about
a statute’s intended scope even after resort to the language and structure,
legislative history, and motivating policies of the statute.” Moskal v. United
States, 498 U.S. 103, 108 (1990). Here, the statutory provision is unambiguous.
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      B.    The Governing Policy Statement Does Not Permit Relief
            Based on Disagreement With the Length of a Sentence.

      Based on the Congressional mandate, the Sentencing Commission set forth

the policy statement in Section 1B1.13 governing motions for compassionate

release. In defining the extraordinary circumstances that may warrant relief, the

Commission focused on medical condition, age, and family responsibilities.

Application note 1 states that “extraordinary and compelling reasons exist under

any of the circumstances set forth below”:

      (A) Medical Condition of the Defendant.--

            (i) The defendant is suffering from a terminal illness (i.e., a serious
            and advanced illness with an end of life trajectory). A specific
            prognosis of life expectancy (i.e., a probability of death within a
            specific time period) is not required. Examples include metastatic
            solid-tumor cancer, amyotrophic lateral sclerosis (ALS), end-stage
            organ disease, and advanced dementia.

            (ii) The defendant is--

                   (I) suffering from a serious physical or medical condition,

                   (II) suffering from a serious functional or cognitive
                   impairment, or

                   (III) experiencing deteriorating physical or mental health
                   because of the aging process,

            that substantially diminishes the ability of the defendant to provide
            self-care within the environment of a correctional facility and from
            which he or she is not expected to recover.

      (B) Age of the Defendant.--The defendant (i) is at least 65 years old; (ii) is
      experiencing a serious deterioration in physical or mental health because
      of the aging process; and (iii) has served at least 10 years or 75 percent of
      his or her term of imprisonment, whichever is less.


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      (C) Family Circumstances.--

             (i) The death or incapacitation of the caregiver of the defendant’s
             minor child or minor children.

             (ii) The incapacitation of the defendant’s spouse or registered
             partner when the defendant would be the only available caregiver for
             the spouse or registered partner.

      (D) Other Reasons.--As determined by the Director of the Bureau of
      Prisons, there exists in the defendant's case an extraordinary and
      compelling reason other than, or in combination with, the reasons
      described in subdivisions (A) through (C).

      Addressing subsection (D), BOP has issued a regulation defining its own

consideration of requests for compassionate release. That regulation appears at

Program Statement 5050.50, available at

https://www.bop.gov/policy/progstat/5050_050_EN.pdf. This program

statement was amended effective January 17, 2019, following passage of the First

Step Act. It replaces the previous program statement, 5050.49, CN-1. It sets forth

in detail BOP’s definition of the circumstances that may support a request for

compassionate release, limited to the same bases identified by the Sentencing

Commission: medical condition, age, and family circumstances.

      Neither the policy statement nor the BOP regulation provides any basis for

compassionate release based on reevaluation of the severity of the original

sentence. In this case, the defendant does not set forth anything more. He asserts

that he is rehabilitated (which by itself, under 28 U.S.C. § 994(t), may not be the

basis for relief), and that the original mandatory minimum sentence was too

extreme. This does not set forth an allowable basis for relief consistent with the

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Sentencing Commission’s policy statement. Nor does any change in sentencing

law, which may be addressed in other provisions.

      This is not surprising. The compassionate release statute is part of an

intricate sentencing scheme. The 1984 sentencing reform of which this statute is

part was animated by the Congressional determination “that sentencing in the

Federal courts is characterized by unwarranted disparity and by uncertainty

about the length of time offenders will serve in prison.” S. Rep. 98-225, at 49.

Thus, Congress created the Sentencing Commission to “provide certainty and

fairness in meeting the purposes of sentencing, avoiding unwarranted sentencing

disparities among defendants with similar records who have been found guilty of

similar criminal conduct while maintaining sufficient flexibility to permit

individualized sentences when warranted by mitigating or aggravating factors not

taken into account in the establishment of general sentencing practices . . . .” 28

U.S.C. § 991(b)(1)(B). See also Peugh v. United States, 569 U.S. 530, 535 (2013);

United States v. Booker, 543 U.S. 220, 264 (2005) (majority opinion of Breyer,

J.); Koon v. United States, 518 U.S. 81, 113 (1996) (“The goal of the Sentencing

Guidelines is, of course, to reduce unjustified disparities and so reach toward the

evenhandedness and neutrality that are the distinguishing marks of any

principled system of justice. In this respect, the Guidelines provide uniformity,

predictability, and a degree of detachment lacking in our earlier system.”). Justice

Breyer, an architect of the sentencing reform effort, explained:



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      The Sentencing Reform Act (SRA) has two overall objectives. See Barber v.
      Thomas, 130 S.Ct. 2499, 2505 (2010); see also United States Sentencing
      Commission, Guidelines Manual § 1A3, p. 1.2 (Nov.1987) (USSG)
      (addressing statutory objectives). First, it seeks greater honesty in
      sentencing. Instead of a parole commission and a judge trying to second-
      guess each other about the time an offender will actually serve in prison,
      the SRA tries to create a sentencing system that will require the offender
      actually to serve most of the sentence the judge imposes. See Mistretta v.
      United States, 488 U.S. 361, 367 (1989) (“[The SRA] makes all sentences
      basically determinate”). Second, the Act seeks greater fairness in
      sentencing through the creation of Guidelines that will increase the
      likelihood that two offenders who engage in roughly similar criminal
      behavior will receive roughly similar sentences. See Barber, supra, at 2505
      (noting that Congress sought to achieve, in part, “increased sentencing
      uniformity”).

Setser v. United States, 566 U.S. 231, 244 (2012) (Breyer, J., dissenting).

      Thus, the Act calls for consistent sentencing, and provides extremely

limited grounds for later alteration of a sentence. Specifically, Section 3582(c)

prohibits a court from modifying a sentence of imprisonment except in three

limited circumstances: (1) where extraordinary and compelling reasons warrant a

reduction, § 3582(c)(1)(A); (2) where another statute or Federal Rule of Criminal

Procedure 35 expressly permits a sentence modification, § 3582(c)(1)(B); or

(3) where a defendant has been sentenced to a term of imprisonment based on a

sentencing range that was subsequently lowered by the Commission and certain

other requirements are met, § 3582(c)(2). See also United States v. Washington,

549 F.3d 905, 915-16 (3d Cir. 2008) (holding that a sentence may only be

modified pursuant to Section 3582(c) or Rule 35, and a district court otherwise

lacks jurisdiction to modify a previously imposed sentence; here, the district

court vacated a sentence upon learning that the defendant had been prosecuted

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under a false name he provided, in order to conceal his full criminal history, and

the Court of Appeals reversed this action as exceeding the court’s jurisdiction).

Under Section 3582(c), “[i]n the sentencing context, there is simply no such thing

as a ‘motion to reconsider’ an otherwise final sentence.” United States v. Dotz,

455 F.3d 644, 648 (6th Cir. 2006).

      Accordingly, consistent with the statutory scheme, the grounds for

compassionate release identified by the Commission are all based on inherently

individual circumstances – health, age, and family responsibilities – and, not

surprisingly, nothing remotely comparable to the application of new sentencing

doctrines to thousands of offenders.

      Indeed, the remedy sought by the defendant would mark a profound

alteration of the sentencing scheme carefully designed by Congress. It would

afford individual judges the authority to, in effect, exercise a parole power that

Congress specifically acted in 1984 to abolish, or exercise a clemency function

that the Constitution affords exclusively to the President. See U.S. Const., Art. II,

§ 2, cl. 1. A judge could, for instance, impose a mandatory sentence as dictated by

Congress, and then after the judgment became final act to reduce it, upon a

declaration that imposition of the sentence in the particular case is

“extraordinary” and unwarranted. This power would inevitably result in varying

determinations by different courts, demolishing the certainty and consistency in

sentencing that Congress required through passage of the Sentencing Reform

Act. The suggested course would also undermine the finality of sentences, a

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concept “which is essential to the operation of our criminal justice system.

Without finality, the criminal law is deprived of much of its deterrent effect.”

Teague v. Lane, 489 U.S. 288, 309 (1989).

      To be sure, Congress may authorize retroactive relief. In Section 404 of the

First Step Act, for example, Congress authorized full retroactive application of

Sections 2 and 3 of the Fair Sentencing Act of 2010. But Congress did not

authorize use of Section 3582(c)(1)(A) to accomplish the same result with respect

to other sentencing provisions. Instead, as before the First Step Act, Congress

directed the Sentencing Commission to identify extraordinary circumstances that

may warrant compassionate release. The Commission has set forth a sensible set

of reasons, focused on individual circumstances, that do not contemplate

resentencing based on a reassessment of the appropriate criminal penalty for the

original criminal conduct. 2

      Under still-controlling law, Congress has tasked the Sentencing

Commission, not the courts, with determining what constitutes an “extraordinary

and compelling reason” that can justify compassionate release. In a detailed and

still-controlling policy statement, the Commission has set forth four categories of

reasons that qualify. The reasons that the defendant relies upon in his motion do




      2 Likewise, it would be inappropriate for the Bureau of Prisons, in the
exercise of its authority to recommend compassionate release, to assume for itself
the authority to reject lengthy sentences in individual cases based on
disagreement with Congressional penalty enactments.
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not align with any of the reasons given by the Commission. Because of this, he is

statutorily ineligible for compassionate release.

      C.     The District Court Decisions Supporting the Defendant’s
             Position Are Unpersuasive.

      Some district courts have agreed with the proposition that a court may now

itself define the circumstances that permit compassionate release, unfettered by

the Commission’s policy statement, but all present scant reasoning, and none

addresses the extensive arguments presented here concerning the clear statutory

language. Indeed, none recognizes or addresses the significance of the Supreme

Court’s Dillon decision in addressing this issue. See United States v. Rodriguez,

2019 WL 6311388, at *7 (N.D. Cal. Nov. 25, 2019); United States v. Brown, 2019

WL 4942051, at *4 (S.D. Iowa Oct. 8, 2019); United States v. O’Bryan, 2020 WL

869475 (D. Kan. Feb. 21, 2020); United States v. Bucci, 2019 WL 5075964, at *1

(D. Mass. Sept. 16, 2019); United States v. Fox, 2019 WL 3046086, at *3 (D. Me.

July 11, 2019); United States v. Urkevich, 2019 WL 6037391 (D. Neb. Nov. 14,

2019); United States v. Beck, 2019 WL 2716505, at *6 (M.D.N.C. June 28, 2019);

United States v. Cantu, 2019 WL 2498923, at *5 (S.D. Tex. June 17, 2019);

United States v. Maumau, 2020 WL 806121 (D. Utah Feb. 18, 2020).

      Other courts disagree, and concur with the government’s view that the

policy statement remains controlling. See, e.g., United States v. Lynn, 2019 WL

3805349, at *3-4 (S.D. Ala. Aug. 13, 2019); United States v. Shields, 2019 WL

2359231, at *4 (N.D. Cal. June 4, 2019); United States v. Willingham, 2019 WL


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6733028, at *2 (S.D. Ga. Dec. 10, 2019) (disagreeing with decisions cited above,

stating, “[t]hese cases, however, rest upon a faulty premise that the First Step Act

somehow rendered the Sentencing Commission’s policy statement an

inappropriate expression of policy. This interpretation, and it appears to be an

interpretation gleaned primarily from the salutary purpose expressed in the title

of Section 603(b) of the First Step Act, contravenes express Congressional intent

that the Sentencing Commission, not the judiciary, determine what constitutes an

appropriate use of the ‘compassionate release’ provision”); United States v.

McGraw, 2019 WL 2059488, *2 (S.D. Ind. 2019); United States v. Schmitt, 2020

WL 96904, at *3 (N.D. Iowa Jan. 8, 2020); United States v. Washington, 2019

WL 6220984, at *2 (E.D. Ky. Nov. 21, 2019); United States v. Willis, 382 F. Supp.

3d 1185, 1187 (D.N.M. 2019); United States v. Ebbers, 2020 WL 91399, *4

(S.D.N.Y. Jan. 8, 2020); United States v. Overcash, 2019 WL 1472104, at *2

(W.D.N.C. Apr. 3, 2019); United States v. Hunter, 2020 U.S. Dist. LEXIS 4305,

at *5 (S.D. Ohio Jan. 9, 2020); United States v. York, 2019 WL 3241166, at *4

(E.D. Tenn. July 18, 2019). Cf. United States v. Rivernider, 2019 WL 3816671, at

*3 (D. Conn. Aug. 14, 2019) (“In support of his claim under subdivision (D), the

defendant makes a variety of assertions: his convictions and sentence are

unlawful, he has served substantially more time in prison than he expected to

serve when he pleaded guilty, he has been mistreated and treated unfairly, and

his minor children are suffering in his absence. None of these factors is

comparable to the Commission’s criteria for compassionate release.”).

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      Notably, to date, only three district court decisions – O’Bryan, Urkevich,

and Maumau – have granted the relief the defendant seeks here: a grant of relief

based solely on rehabilitation (which the statute states cannot be the sole basis of

relief) and the revision of sentencing law, specifically the alteration to penalties

under 18 U.S.C. § 924(c) that Congress decreed in the First Step Act but expressly

declared non-retroactive. See First Step Act § 403. 3

      In every other case in which a district court has articulated a power to

consider circumstances not identified by the Sentencing Commission, the relief

granted was in fact based on the traditional considerations of health, age, and




      3 In Brown, 2019 WL 4942051, the Iowa district court suggested that relief
may be afforded based on the length of 924(c) sentences, but denied the request,
as the defendant had not yet completed the sentence that would be imposed
under current law; the court instead suggested that the Department of Justice
support a request for executive commutation of the sentence.

       In Fox, the Maine district court stated, “I agree with the courts that have
said that the Commission’s existing policy statement provides helpful guidance
on the factors that support compassionate release, although it is not ultimately
conclusive given the statutory change.” 2019 WL 3046086, at *3. But the court
then evaluated, and denied, the defendant’s request on the basis of the
considerations outlined in the policy statement, declining to consider the
defendant’s argument that changes in sentencing law and disparate treatment of
other offenders presented extraordinary circumstances warranting relief. The
court reasoned: “I conclude that those other extraordinary and compelling
reasons should be comparable or analogous to what the Commission has already
articulated as criteria for compassionate release. Despite Fox’s understandable
frustration over the unfairness he perceives in others getting sentencing benefits
while he does not, the compassionate release provision is not an end-run around
the Commission’s authority to make certain Guideline changes not retroactive or
Congress’s decision to reduce sentences for some crimes but not others, or a
means to redress perceived disparities with other sentenced defendants.” Id. In
other words, this case as well stands in opposition to the relief sought here.
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family circumstances that are identified by the Commission as possible

extraordinary circumstances. See Cantu, 2019 WL 2498923, at *1 (identifying the

defendant as “elderly,” and the government agreed that home confinement was

warranted); Beck, 2019 WL 2716505 (relief granted on the basis of invasive

cancer and BOP’s purported history of indifference to the defendant’s medical

condition); Rodriguez, 2019 WL 6311388 (defendant’s claim was exclusively

based on medical condition, and the court upon analysis denied the motion);

Bucci, 2019 WL 5075964 (defendant is sole available caregiver for ailing mother);

Schmitt, 2020 WL 96904 (defendant suffered from metastatic breast cancer);

United States v. Cantu-Rivera, 2019 WL 2578272 (S.D. Tex. June 24, 2019)

(although the court suggested that the policy statement is not binding, its grant of

release was nonetheless based on the defendant’s advanced age and significant

health issues, as well as the fact that he would receive a lower sentence under

current law).

      Thus, there is little authority for the remedy that the defendant seeks. See

Willingham, 2019 WL 6733028 at *2 (an assertion that the defendant’s “sentence

[was] too harsh, especially as compared to that of” other defendants, did “not

even move the needle toward the extraordinary and compelling circumstances

that must exist before the Court should grant compassionate release”; an

“attempt to relitigate the propriety of her sentence under the auspice of

‘compassionate release’ . . . falls completely flat.”).



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      Further, to the extent that some courts have perceived expanded judicial

authority in considering motions for compassionate release, those decisions are

without legal basis. Cantu presents the most extensive discussion, and is most

frequently cited. It devotes most of the pertinent discussion, 2019 WL 2498923,

at *3-5, to the indisputable proposition that the portion of the guideline

commentary that conditions relief on a BOP motion, consistent with the earlier

statute, is no longer operative, as a policy statement may not conflict with a

governing statute. 4 From that premise, however, Cantu unjustifiably concludes

“that when a defendant brings a motion for a sentence reduction under the

amended [Section 3582(c)(1)(A)], the Court can determine whether any

extraordinary and compelling reasons other than those delineated in U.S.S.G.

§ 1B1.13 cmt. n.1(A)-(C) warrant granting relief.” Id. at *5.

      In support, Cantu relies first on the proposition that Congress aimed to

increase the award of compassionate release, and the fact that the title of Section

603(b) of the First Step Act is “Increasing the Use and Transparency of




      4 Application note 4 of Section 1B1.13, which states the prior requirement
of a BOP motion, has not been amended in light of the First Step Act, as the
Commission currently lacks a quorum.

      Application note 4 also encourages BOP to be liberal in filing such motions
and states that a “court is in a unique position to determine whether the
circumstances warrant a reduction.” But this language does not empower a court
to ignore the policy statement’s substantive directives and adopt a freestanding
power to declare what circumstances may justify a sentence reduction. To the
contrary, the note restates the court’s obligation to adhere to consideration of the
circumstances identified by the Commission.
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Compassionate Release.” But as the court explained in its lengthy rejection of

Cantu in United States v. Lynn, 2019 WL 3805349, at *3-4 (S.D. Ala. Aug. 13,

2019), there is much in the First Step Act that expands the availability of

compassionate release, from the authorization of direct defense requests to a

sentencing court, to provisions requiring notification and assistance to prisoners

who may prepare requests. 5 Nothing in the Act, however, revises the explicit

directives in Sections 994(t) and 3582(c)(1)(A) requiring compliance with the

Sentencing Commission’s policy statement. And as Lynn correctly concluded,

“[i]f the policy statement needs tweaking in light of Section 603(b), that tweaking

must be accomplished by the Commission, not by the courts.” 2019 WL 3805349,

at *4; see id. at *4 n.5 (noting it is not “easy to believe that Congress, which

plainly desired the Commission to pour content into ‘extraordinary and

compelling reasons,’ intended to eliminate that content by allowing defendants to

move for compassionate release.’”).

      Next, Cantu relies on application note 1(D), which authorizes a reduction

if, “[a]s determined by the Director of the Bureau of Prisons, there exists in the




      5 Besides allowing direct defense motions to the court, removing BOP as
the gatekeeper, the First Step Act added subsection (d) to Section 3582, imposing
enhanced requirements on BOP to notify prisoners of their right to seek
compassionate release, with particular requirements (including mandates that
BOP assist certain prisoners in preparing motions) where the inmate is
terminally ill or suffers from a physical or mental impairment limiting the ability
to prepare a motion. Additionally, the First Step Act added subsection (e), which
requires a report by BOP to Congress in three years regarding the consideration
of compassionate release motions.
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defendant’s case an extraordinary and compelling reason other than, or in

combination with, the reasons described in subdivisions (A) through (C).” 2019

WL 2498923, at *4-5. Because the BOP is no longer the “sole determiner of what

constitutes an extraordinary and compelling reason,” Cantu suggests, application

note 1(D) “is not applicable when a defendant requests relief under

§ 3582(c)(1)(A),” and the district court, rather than the BOP, now may identify

extraordinary and compelling reasons warranting a sentence reduction other

than those set forth elsewhere in the policy statement. Id. Neither conclusion

follows. First, even where a defendant moves for compassionate release, it

remains sensible to permit BOP to use its expertise to identify additional

extraordinary circumstances warranting compassionate release, whether specific

to the defendant or applicable generally, as set forth in the program statement.

And second, even if application note 1(D) does not apply where a defendant

moves for compassionate release, Cantu does not explain how that note or any

other portion of Section 1B1.13 grants courts unfettered authority to determine

what constitutes an extraordinary and compelling reason untethered to those set

forth elsewhere in the policy statement. In other words, even after the First Step

Act, Congress has “left the task of fleshing out the universe of extraordinary and

compelling reasons to the Commission, not the judiciary. The Court is not freed

by congressional silence but bound by Commission policy statements that

Congress has expressly required the courts to follow.” Lynn, 2019 WL 3805349,

at *5. See United States v. Ebbers, 2020 WL 91399, *4 (S.D.N.Y. Jan. 8, 2020)

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(“Congress in fact only expanded access to the courts; it did not change the

standard.”).

      In granting relief in United States v. Maumau, 2020 WL 806121 (D. Utah

Feb. 18, 2020), the court took a different tack, stating:

      The court briefly notes that, in reaching this conclusion, its reasoning is
      slightly different from some of the other district courts cited above. A few
      of those cases frame the First Step Act as shifting discretion from the
      Bureau of Prisons Director to the district courts. See, e.g., Fox, 2019 WL
      3046086 at *3 (“I treat the previous BOP discretion to identify other
      extraordinary and compelling reasons as assigned now to the courts.”);
      Brown, 2019 WL 4942051 at *4 (same). But in this court’s view, the district
      courts have always had the discretion to determine what counts as
      compelling and extraordinary. The courts have never been a rubber stamp
      for compassionate release decisions made by the Bureau of Prisons. . . . The
      key change made by the First Step Act is not a redistribution of discretion,
      but the removal of the Director’s role as a gatekeeper.

Maumau, 2020 WL 806121, at *4 n.5.

      But Maumau, like all the decisions in agreement with it, entirely ignores

the statutory command that, when exercising the discretion it possesses, a district

court may only grant a reduction that “is consistent with applicable policy

statements issued by the Sentencing Commission.” Maumau never addresses

that provision, or the Supreme Court’s interpretation of such language in Dillon.

It is because of that provision that a court cannot grant relief based solely on

disagreement with the length of a sentence, or based on application of an

otherwise non-retroactive change in sentencing law, as the Sentencing

Commission has not authorized any reduction on such bases.




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       As stated, the defendant’s suggestion could severely undermine the plain

goals of the Sentencing Reform Act to reduce disparity in sentencing and to

afford offenders, victims, and the public a clear understanding at the time of

sentencing of the actual punishment imposed. It would remove certainty in

sentencing, allowing individual judges years after the fact to revise terms based

on their then-determined views of the reasonableness of sentencing law.

Whatever the merit of such a plan, it may only be instituted by Congress.

III.   Conclusion.

       The defendant does not set forth any basis for compassionate release

authorized by law, and his motion for relief should therefore be denied.

                                      Respectfully submitted,

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                                      Chief of Appeals




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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of this pleading has been served by first-class

mail, postage prepaid, upon:


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Dated: February 27, 2020.
